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  10
                               UNITED STATES DISTRICT COURT
  11
                            SOUTHERN DISTRICT OF CALIFORNIA
  12
  13
       BORREGO COMMUNITY HEALTH                 Case No. 3:22-cv-01056-BEN-KSC
  14
       FOUNDATION, a California nonprofit
  15   public benefit corporation,              DEFENDANTS AYED
                                                HAWATMEH, D.D.S. AND
  16                      Plaintiff,            HAWATMEH DENTAL GROUP,
                                                P.C.’S REPLY IN SUPPORT OF
  17           v.                               MOTION TO DISMISS
  18                                            PURSUANT TO RULES 12(b)(1)
       AYED HAWATMEH, D.D.S., an                AND 12(b)(6)
  19   individual; HAWATMEH DENTAL
       GROUP, P.C., a California corporation;   Date: July 3, 2023
  20   et al.,                                  Time: 10:30 a.m.
  21                                            Courtroom: 5A
                          Defendants.
                                                Judge: Hon. Roger T. Benitez
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                                                             DR. HAWATMEH’S REPLY ISO
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   1       I.    Introduction
   2            In a 734-page First Amended Complaint (“FAC”), Borrego Community Health
   3   Foundation (“Borrego”) lumps defendant Ayed Hawatmeh into a RICO conspiracy
   4   and twelve state law causes of action with 38 other defendants. But the specific
   5   allegations against Dr. Hawatmeh are quite simple. Borrego alleges that
   6   Dr. Hawatmeh overbilled for dental services in early 2018. Yet by Borrego’s own
   7   admission, Medi-Cal fully reimbursed Borrego for all services performed by
   8   Dr. Hawatmeh. Thus, even if there was over-billing—and there was not—Borrego
   9   has been fully compensated for any alleged injury caused by Dr. Hawatmeh. In its
  10   Opposition, Borrego does not offer any serious explanation as to why it would have
  11   standing to sue Dr. Hawatmeh. Nor does Borrego offer a serious opposition to any of
  12   the other arguments in Dr. Hawatmeh’s motion. Accordingly, the claims against
  13   Dr. Hawatmeh should be dismissed for the following reasons:
  14       • Borrego lacks standing to sue Dr. Hawatmeh: Borrego concedes that
  15   Medi-Cal reimbursed it for all claims submitted by Dr. Hawatmeh.
  16       • All of Borrego’s claims against Dr. Hawatmeh are time-barred: By the
  17   plain language of the FAC, Borrego had actual knowledge of its claims more than
  18   three years before filing this case, and Borrego had constructive notice more than
  19   four years before filing. All of Borrego’s claims against Dr. Hawatmeh have statutes
  20   of limitations of three or four years. Accordingly, all of Borrego’s claims against
  21   Dr. Hawatmeh are time-barred.
  22       • This is not a RICO case: To state a RICO claim under section 1962(c),
  23   Borrego must allege a continuous pattern of racketeering. Numerous courts have held
  24   that this continuity requirement is not met when an organization targets a single
  25   victim. Borrego does not even attempt to address the “single-victim” line of cases. 1
  26
       1
         It is telling that Borrego does not attempt to address the single-victim cases because
  27   those cases destroy the only basis for subject matter jurisdiction over Borrego’s
  28   claims. To be specific, Borrego cannot bring a RICO claim against any defendant
       without alleging a pattern of continuous racketeering activity. The RICO claims are
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   1       • Even if there were a continuous pattern of racketeering, Borrego could not state
   2   a section 1962(c) claim against Dr. Hawatmeh. To do so, Borrego must allege facts
   3   showing that Dr. Hawatmeh had some part in directing the affairs of the RICO
   4   enterprise. Borrego failed to do so.
   5       • To state a RICO conspiracy claim under section 1962(d), Borrego must be able
   6   to plead a substantive violation of RICO. Borrego does not argue otherwise. And, as
   7   noted above, Borrego has failed to offer any analysis of the cases saying that a RICO
   8   case cannot be brought if the enterprise only targeted a single victim.
   9       • Even if Borrego could plead a substantive violation of RICO, Borrego would
  10   still fail to state a RICO conspiracy claim against Dr. Hawatmeh. Borrego failed to
  11   allege facts showing that Dr. Hawatmeh agreed to facilitate a scheme that includes
  12   the operation or management of the RICO enterprise.
  13       • Borrego improperly joined Dr. Hawatmeh in his individual capacity:
  14   Borrego sued both Dr. Hawatmeh and his professional corporation. Yet Borrego
  15   offers no argument for piercing the corporate veil. If any claim survives as to
  16   Dr. Hawatmeh, then the corporation should be the only defendant.
  17     II.     Rule 12(b)(1): Borrego lacks standing to sue Dr. Hawatmeh.
  18           Borrego admits that Medi-Cal paid Borrego for the claims submitted by
  19   Dr. Hawatmeh. (Opp. at 15.)2 Yet Borrego asserts that it still has standing because
  20   any other result would “unjustly reward wrongdoers when an injured party receives
  21   reimbursement.” (Id.) Borrego misunderstands the purpose of the standing inquiry.
  22   Standing is about identifying the correct plaintiff based on whether that plaintiff has
  23
  24   the only federal claims asserted in the FAC. Thus, without the RICO claims, the
       Court should decline to exercise supplemental jurisdiction and dismiss the entire
  25   case. Yet despite these stakes, Borrego offers no argument about the single-victim
       cases, aside from a one-sentence footnote that attempts to dodge the issue. This is
  26   simply not a RICO case, and it should not be in federal court.
  27   2
         Citations to “Opp.” refer to the page numbers at the bottom of Borrego’s opposition
       brief. “Mem.” refers to the page numbers at the bottom of Dr. Hawatmeh’s
  28   memorandum of points and authorities.
                                                                    DR. HAWATMEH’S REPLY ISO
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   1   an injury that is compensable by the courts. See Lujan v. Defs. of Wildlife, 504 U.S.
   2   555, 560–61 (1992). Standing is not about ensuring that a defendant is punished. If a
   3   defendant should face liability, then the defendant must be sued by a plaintiff that has
   4   a compensable injury. Here, Borrego does not have such an injury. 3
   5           Borrego’s remaining arguments are meritless. Borrego argues that it failed to
   6   obtain recoupment from dentists when Medi-Cal froze payments to Borrego in late
   7   2020. (Opp. at 16.) But Dr. Hawatmeh stopped providing services for Borrego on
   8   September 17, 2019, which was more than a year before Medi-Cal froze
   9   reimbursements to Borrego. (Mem. at 6.) There is no allegation in the FAC that
  10   Medi-Cal failed to reimburse any of Dr. Hawatmeh’s claims.
  11           Borrego also argues that it has standing because its contract dental program
  12   was suspended by Medi-Cal and Borrego was forced to hire monitors, close
  13   locations, and file for bankruptcy. But Borrego cannot assert a harm for purposes of
  14   standing without alleging some causal connection between Dr. Hawatmeh’s conduct
  15   and the harm alleged. See Decarlo v. Costco Wholesale Corp., 14-cv-0202, 2014 WL
  16   12508583, at *1, *3 (S.D. Cal. Sept. 30, 2014) (dismissing complaint for lack of
  17   standing where plaintiff “fail[ed] to show he suffered an injury in fact that is causally
  18   connected with” the defendant’s own conduct); see also Lujan, 504 U.S. at 560
  19   (noting that an alleged injury “has to be fairly . . . trace[able] to the challenged action
  20   of the defendant, and not . . . th[e] result [of] the independent action of some third
  21   party”) (emphasis added) (citation omitted). Here, there are no allegations that
  22   Dr. Hawatmeh caused these supposed harms. This is no surprise. The FAC makes it
  23
       3
         Borrego cites to an order by the Court of Federal Claims called Pacific Wind, LLC
  24   v. U.S., 150 Fed. Cl. 242 (2020). But Pacific Wind would not compel a different result
  25   than the Ninth Circuit cases cited by Dr. Hawatmeh. Pacific Wind involved an
       indemnification agreement. The plaintiff sought recovery because it had an
  26   agreement to “repay its indemnitor.” Id. at 244. Thus, the plaintiff was not going to
       recover the same damages twice, once via indemnification and once via the lawsuit.
  27   Instead, if the plaintiff were to prevail, it would repay its indemnitor and thereby only
  28   recover damages once. Here, there is no indemnification agreement. Borrego has
       already been paid by Medi-Cal, and it now seeks to get paid again by Dr. Hawatmeh.
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   1   clear that it was the Premier Defendants who were responsible for compliance with
   2   Medi-Cal regulations. (FAC ¶¶ 100–102, 136.) Borrego cannot rely on a conclusory,
   3   post hoc, argument that blames Dr. Hawatmeh for the harms caused by the alleged
   4   conduct of another defendant.
   5       III.    All of Borrego’s claims against Dr. Hawatmeh are time-barred.
   6              Nine of Borrego’s claims against Dr. Hawatmeh have statutes of limitations of
   7   three years or fewer. (See Mem. at 7–8 (listing claims and statutes of limitations).)
   8   Borrego had actual knowledge of its claims against Dr. Hawatmeh more than three
   9   years before filing this case. (FAC ¶ 174 (“In late 2018, Borrego Health became
  10   concerned that Hawatmeh was billing for excessive visits.”); id. ¶ 175 (stating that,
  11   on November 26, 2018, Dr. Hawatmeh confirmed that were some claims that had
  12   been billed in error).) These nine claims must be dismissed because Borrego had
  13   actual and indisputable knowledge of this conduct more than three years before it
  14   filed suit. Borrego does not offer any argument to the contrary.4
  15              Borrego’s other three claims against Dr. Hawatmeh have four-year statutes of
  16   limitations. Borrego had constructive notice of its claims more than four years
  17   before filing this case because Borrego had the data necessary to identify its claims.
  18   See Jolly v. Eli Lilly & Co., 751 P.2d 923, 927 (1988) (In Bank) (“A plaintiff is held
  19   to her actual knowledge as well as knowledge that could reasonably be discovered
  20   through investigation of sources open to her.”). Borrego possessed Dr. Hawatmeh’s
  21   claims data, and Borrego had hired “program integrity” staff whose jobs were to
  22   analyze dental claims data to monitor for overbilling (Mem. at 9.) 5
  23              Borrego also argues that constructive notice should be a question of fact for
  24   the jury. Not so. Questions of constructive notice may be resolved on a motion to
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         Dr. Hawatmeh maintains that he acted in good faith at all times when submitting
  26   claims for dental work under Borrego’s contract dental program, including when he
       participated in Borrego’s audits and reimbursed Borrego for claims filed in error.
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       5
         Borrego’s last “claim” is for conspiracy, but that is not a cause of action in
  28   California. (Mem. at 10–11.) Thus, the conspiracy “claim” should be dismissed.
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   1   dismiss where a complaint shows that a plaintiff had the means to discover its claim
   2   through a reasonable exercise of diligence. See, e.g., Orkin v. Taylor, 487 F.3d 734,
   3   741–42 (9th Cir. 2007) (affirming dismissal where plaintiffs’ complaint alleged facts
   4   demonstrating that plaintiffs could have discovered their claim years before it was
   5   brought). Thus, district courts regularly dismiss claims on Rule 12(b)(6) motions
   6   when plaintiffs have constructive notice of their claims. See, e.g., Evans v. Ariz.
   7   Cardinals Football Club, LLC, 231 F. Supp. 342, 347–51 (N.D. Cal. 2017) (granting
   8   dismissal where plaintiffs had constructive knowledge of the alleged injury “based
   9   on plaintiffs’ own allegations”); Chang v. Farmers Ins. Co., 22-cv-02458, 2022 WL
  10   17995530, at *3–4 (C.D. Cal. Dec. 29, 2022) (granting dismissal where plaintiffs’
  11   own allegations demonstrated that plaintiffs had constructive notice); Kang-Shen
  12   Chen v. T.T. Group, 14-cv-0138, 2014 WL 12725598, at *4 (C.D. Cal. June 20, 2014)
  13   (granting dismissal where plaintiff’s injury “was readily appreciable” from
  14   circumstances alleged in complaint).
  15           Borrego argues “fraudulent concealment,” stating that some of the insiders
  16   worked to conceal the overbilling from Borrego. (Opp. at 17.) But fraudulent
  17   concealment requires that the alleged misconduct be successfully concealed. Thus,
  18   actual knowledge and constructive notice defeat fraudulent concealment. See Hexcel
  19   Corp. v. Ineos Polymers, Inc., 681 F.3d 1055, 1060 (9th Cir. 2012) (“The plaintiff
  20   carries the burden of pleading and proving fraudulent concealment; it must plead
  21   facts showing that the defendant affirmatively misled it, and that the plaintiff had
  22   neither actual nor constructive knowledge of the facts giving rise to its claim despite
  23   its diligence in trying to uncover those facts.”) (citation and alterations omitted).
  24   Here, Borrego admits it detected Dr. Hawatmeh’s alleged overbilling in “late 2018,”
  25   and Borrego terminated Dr. Hawatmeh’s contract in September 2019. (FAC ¶¶ 174,
  26   182.) Borrego has no excuse for waiting until July 2022 to file its claims. 6
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       6
         Borrego cites the “discovery rule,” but that argument misses the point. When a
       plaintiff has actual knowledge of a claim, that means the plaintiff has discovered its
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    1           Borrego also argues that the Ninth Circuit follows the “separate accrual” rule.
    2   (Opp. at 17.) But the separate accrual rule dooms the claims against Dr. Hawatmeh
    3   because it eliminates recovery for any conduct outside of the limitations period. See
    4   State Farm Mut. Auto. Ins. Co. v. Ammann, 828 F.2d 4, 5 (9th Cir. 1987) (Kennedy,
    5   J., concurring). (“[D]amages may not be recovered for injuries sustained as a result
    6   of acts committed outside the limitations period.”). There are no sufficiently pled
    7   allegations against Dr. Hawatmeh for conduct inside the limitations periods. To be
    8   specific, Borrego must plead with particularity because Borrego alleges that
    9   Dr. Hawatmeh acted in a fraudulent manner. Fed. R. Civ. P. 9(b). But the only
   10   particularized claims alleged against Dr. Hawatmeh occurred in February, May, and
   11   June of 2018, which was more than four years before the Complaint was filed. (FAC
   12   ¶¶ 172–73.)7 Thus, there are no claims against Dr. Hawatmeh that satisfy Rule 9(b)
   13   and are compensable under the separate accrual rule.
   14    IV.      18 U.S.C. § 1962(c): Conducting the Affairs of a RICO Enterprise
   15       A. Borrego has failed to plead a pattern of racketeering.
   16           RICO requires a “pattern of racketeering” that can only be met by a continuous
   17   course of criminal conduct. (Mem. at 13–15.) Dr. Hawatmeh cited a number of cases
   18   within the Ninth Circuit for the rule that RICO continuity is not met where a plaintiff
   19   alleges a scheme against a single victim. Borrego ignores all of those cases and
   20   responds to the argument with a two-sentence footnote. (Opp. at 27 n. 10.) Borrego
   21   simply contends that it alleged eleven different schemes, even though all of those
   22   supposed schemes were targeted at just one victim.
   23           Borrego cannot evade the RICO continuity requirement by making up artificial
   24   labels for different “schemes.” After all, a defendant could always make up such
   25
   26   claim. And when a plaintiff has constructive notice of its claims, that means that the
        plaintiff should have discovered its claim by exercising reasonable diligence.
   27   7
          Borrego argues that the statute of limitations issue was decided in the parallel case.
   28   But that case does not involve dentists, so the court did not decide whether Borrego
        had constructive notice based on its possession of the dental claims data.
                                                                     DR. HAWATMEH’S REPLY ISO
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    1   labels. It is the number of victims that cannot be invented by tricks of pleading.
    2           RICO was meant to target ongoing criminal organizations. An entity that
    3   engages in a crime against a single victim is not the type of ongoing criminal
    4   organization that RICO was meant to target. (Mem. at 13–15.) Indeed, case law
    5   makes clear that it is the number of victims that matter, not some artificially defined
    6   number of schemes. See, e.g., MedImpact Healthcare Sys., Inc. v. IQVIA Inc., 19-cv-
    7   1865, 2022 WL 6281793, at *29 (S.D. Cal. Oct. 7, 2022) (“Given the existence of
    8   one victim or, at most, several related corporate victims, the Court finds that Plaintiffs
    9   have failed to demonstrate a pattern of racketeering.”); Palantir Techs. Inc. v.
   10   Abramowitz, 19-cv-06879, 2021 WL 2400979, at *9 (N.D. Cal. June 11, 2021) (“the
   11   number of victims[] is more determinative as the Ninth Circuit rarely upholds a
   12   finding of continuity where there is only a single victim.”); Zero Down Supply Chain
   13   Sols., Inc. v. Glob. Transp. Sols., Inc., 2:07-cv-400, 2008 WL 4642975, at *6 (D.
   14   Utah Oct. 17, 2008) (Given that the alleged pattern is “directed at a finite group of
   15   individuals,” indeed just one company, and there is “no potential to extend to other
   16   persons or entities,” “this is simply not a RICO case.”).
   17           Given that the alleged scheme only targets one victim, Borrego has failed to
   18   plead that the alleged enterprise engaged in a continuous pattern of racketeering. See
   19   MedImpact, 2022 WL 6281793, at *28–29. This means that Borrego has failed to
   20   state a RICO claim as to the entire enterprise. Accordingly, Borrego has failed to
   21   state a RICO claim against any defendant. And without the RICO claims, the Court
   22   should decline to exercise supplemental jurisdiction and dismiss this entire case.
   23       B. Dr. Hawatmeh did not participate in the operation or management of
   24           the alleged enterprise.
   25           Even if Borrego had alleged a viable pattern of racketeering, the
   26   section 1962(c) claim should still be dismissed as to Dr. Hawatmeh. The FAC does
   27   not contain any factual allegations showing that Dr. Hawatmeh conducted the affairs
   28   of the RICO enterprise, which is a required element under 18 U.S.C. § 1962(c).
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    1   (Mem. at 11–12.) As the Supreme Court made clear in Reves, in order to be liable
    2   under section 1962(c), “one must have some part in directing [the enterprise’s]
    3   affairs.” Reves v. Ernst & Young, 507 U.S. 170, 179 (1993). If person is an insider to
    4   a RICO enterprise, then it is plausible that the person has a part in directing the
    5   enterprise’s affairs. But it is much harder for an outsider, like Dr. Hawatmeh, to direct
    6   a RICO enterprise. An outsider must “exert control” over the enterprise, “for
    7   example, by bribery.” Id. at 184. Dr. Hawatmeh is not alleged to have exerted any
    8   control over the alleged enterprise. Instead, he was subject to regular audits by the
    9   enterprise, and he was ultimately terminated by the enterprise. (FAC ¶ 182.)
   10           Borrego does not address the holding in Reves. Nor does Borrego explain how
   11   an outsider dentist could have exerted control over the enterprise, especially given
   12   that the insiders allegedly concealed the RICO scheme. (FAC ¶ 550, see also ¶¶ 107,
   13   349, 395.) Instead of addressing these relevant issues, Borrego cites two district court
   14   cases to argue that it was enough for the dentists to “take directions” from the
   15   enterprise or be “vital” to the enterprise’s success. (Opp. at 20–21.) Borrego is wrong.
   16           Borrego first cites In re Outlaw Lab’y, LP Litig., 18-cv-840, 2020 WL
   17   5552558 (S.D. Cal. Sept. 16, 2020). In Outlaw Labs, the court explained that “a
   18   defendant does not ‘direct’ the enterprise’s affairs by ‘simply being involved’ or
   19   ‘performing services for the enterprise.’” Id. at *8. That is exactly the point. There
   20   are no allegations that Dr. Hawatmeh did anything other than perform dental services
   21   for the alleged enterprise.
   22           Outlaw Labs was about a law firm and a client that worked together to
   23   repeatedly shake down store owners. Id. at *2–6. The firm would send demand letters
   24   to the store owners, asking for exorbitant settlements to resolve frivolous claims. Id.
   25   After scaring the store owners, the firm and client would lower their demands to
   26   induce settlements. Id. The court held that the law firm may have directed the
   27   enterprise by “originating the scheme,” “architect[ing] . . . the demand letters,” and
   28   “direct[ing] . . . the settlements.” Id. at *9. Thus, Outlaw Labs is perfectly consistent
                                                                      DR. HAWATMEH’S REPLY ISO
                                                   8                          MOTION TO DISMISS
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    1   with the rule of Reves because the law firm in Outlaw Labs actually directed the
    2   affairs of the enterprise.
    3           Borrego also cites Ketayi v. Health Enrollment Grp., 20-cv-1198, 2021 WL
    4   2864481, at *12 (S.D. Cal. July 8, 2021). In Ketayi, an alleged enterprise engaged in
    5   a scheme to trick customers into purchasing limited health insurance plans that had
    6   little to no value to the purchaser. Ketayi v. Health Enrollment Grp., 20-cv-1198
    7   (S.D. Cal. filed June 26, 2020), ECF No. 95 ¶ 2. One of the defendants, ACI, was a
    8   third-party administrator that performed consumer sales and administrative services
    9   for the insurance plans sold by the alleged enterprise. Id. ¶ 36. ACI argued that it had
   10   not directed the affairs of the enterprise. But in the operative complaint, the plaintiffs
   11   alleged that ACI “participated in developing and administering” the fraudulent health
   12   plans. Ketayi, 2021 WL 2864481, at *12. The court found the question “close” but
   13   determined “that these allegations are enough to push ACI over the edge from an
   14   actor that simply provided goods or services that benefitted the enterprise to a
   15   participant in the operation of the enterprise.” Id.
   16           The case against Dr. Hawatmeh is completely different. Dr. Hawatmeh is not
   17   alleged to have developed or administered anything for Borrego. He simply
   18   performed dental services pursuant to a contract that Borrego drafted. Borrego has
   19   failed to allege any fact that would distinguish Dr. Hawatmeh, who was an outside
   20   service provider, from the outside service provider in Reves. See Reves, 507 U.S. at
   21   185 (“[Section] 1962(c) cannot be interpreted to reach complete ‘outsiders’ because
   22   liability depends on showing that the defendants conducted or participated in the
   23   conduct of the ‘enterprise’s affairs,’ not just their own affairs.”).
   24     V.      18 U.S.C. § 1962(d): RICO Conspiracy
   25           Dr. Hawatmeh raised two arguments for dismissal under section 1962(d).
   26   First, the failure to adequately plead a substantive violation of RICO precludes a
   27   claim for RICO conspiracy. (Mem. at 16.) Borrego does not address this argument
   28   and therefore concedes it. As explained above, Borrego fails to plead the RICO
                                                                       DR. HAWATMEH’S REPLY ISO
                                                    9                          MOTION TO DISMISS
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    1   continuity requirement because the alleged enterprise only targeted one victim.
    2           Second, Borrego failed to plead facts showing that Dr. Hawatmeh knowingly
    3   agreed to facilitate a scheme that includes the operation or management of a RICO
    4   enterprise. (Mem. at 16–17.) Borrego was required to plead facts showing that
    5   Dr. Hawatmeh was aware of the essential nature and scope of the enterprise, intended
    6   to participate in it, and agreed to do so. (Id.) None of that was pled in the FAC, and
    7   Borrego does not argue otherwise.
    8    VI.      The Court should decline to exercise supplemental jurisdiction.
    9           Given that the RICO claim fails, Dr. Hawatmeh argued that the Court should
   10   decline to exercise supplemental jurisdiction over the state law claims if it decides
   11   not to dismiss the case on the basis of standing or the statutes of limitations. (Mem.
   12   at 17–18.) Borrego offers no argument in response and thus concedes the issue.
   13           The RICO claims here are simply an excuse to lump a number of dentists into
   14   a single case with each other and with entities that are alleged to have taken over
   15   Borrego. In other words, Borrego is using the RICO claims to force this Court to
   16   manage a single case that should be a series of individual cases filed in state court.
   17   That is an abuse of the judicial process. It is also highly prejudicial. The dentists here
   18   are small business owners, and they should not be required to spend their resources
   19   to defend against allegations directed at a whole host of other defendants.
   20   VII.      Dr. Hawatmeh should be dismissed in his individual capacity.
   21           Dr. Hawatmeh showed that Borrego failed to plead facts sufficient to pierce
   22   the corporate veil and that Dr. Hawatmeh should be dismissed from the case in his
   23   individual capacity. (Mem. at 18–21.) Borrego offers no argument in response.
   24 VIII.       Conclusion
   25           Dr. Hawatmeh and Hawatmeh Dental Group P.C. respectfully request that all
   26   claims against them be dismissed with prejudice. It would be futile to grant Borrego
   27   leave to amend.
   28
                                                                       DR. HAWATMEH’S REPLY ISO
                                                   10                          MOTION TO DISMISS
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    1   Dated:             June 22, 2023      Respectfully submitted,
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    3
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